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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------X
                                         :
SECURITIES AND EXCHANGE COMMISSION,      :
                                         :                           1:22-cv-03216 (RA)
                Plaintiff,               :
                                         :
     -v-                                 :
                                         :
MOSHE STRUGANO and RINAT GAZIT,          :
                                         :
                Defendants.              :
                                         :
-----------------------------------------X

 CORRECTED DECLARATION OF NELSON A. BOXER IN SUPPORT OF MOTION
                 TO WITHDRAW APPEARANCES

        I, Nelson A. Boxer, hereby declare as follows:

        1.      I am admitted to practice in this Court. On January 9, 2023, I filed a Notice of

Appearance (ECF Doc. No. 33) on behalf of Defendant Rinat Gazit in the above-captioned case.

        2.      My colleague, Christina Karam, is also admitted to practice in this Court, and on

January 9, 2023, also filed a Notice of Appearance (ECF Doc. No. 32) on behalf of Ms. Gazit.

        3.      At Ms. Gazit’s request, on June 6, 2023, I had a Zoom meeting with Zachary S.

Brez of Kirkland & Ellis LLP.

        4.      On July 8, 2023, I received an e-mail from Jay Philip Lefkowitz of Kirkland &

Ellis LLP stating that “we will be handling [Ms. Gazit’s] case going forward” and informing me

that “we plan to enter our appearances Monday and will reach out to the government about the

proposed [discovery] schedule.”

        5.      Subsequent to July 8, Ms. Gazit informed me that Mr. Lefkowitz and Kirkland &

Ellis will be representing her in this case.




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       6.      On July 10, 2023, Mr. Lefkowitz, Robert Allen, and Mr. Brez of Kirkland & Ellis

LLP each filed a Notice of Appearance (ECF Doc. Nos. 64-66) on behalf of Ms. Gazit in the

above-captioned case.

       7.      Ms. Gazit has informed me that she does not object to the instant motion to

relieve my Firm, Christina Karam, and me as counsel in this case.

       8.      For the reasons set forth herein, and under Local Civil Rule 1.4, I respectfully

request that the Court withdraw my appearance and that of Christina Karam as counsel for

Defendant Rinat Gazit.

       9.      As the Court is aware, discovery has not yet commenced in this case.

       10.     Petrillo Klein + Boxer LLP has not and will not assert a retaining or charging lien

regarding our representation of Ms. Gazit.

Dated: July 12, 2023
       New York, New York
                                                            PETRILLO KLEIN + BOXER LLP

                                                            /s/ Nelson A. Boxer
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